 Case 14-22638-ABA                       Doc 59 Filed 09/13/19 Entered 09/14/19 00:31:31                            Desc Imaged
                                              Certificate of Notice Page 1 of 4
Information to identify the case:
Debtor 1
                       Gary G. Morris                                            Social Security number or ITIN   xxx−xx−7248
                                                                                 EIN _ _−_ _ _ _ _ _ _
                       First Name   Middle Name   Last Name

Debtor 2               Kathy J. Morris                                           Social Security number or ITIN   xxx−xx−9492
(Spouse, if filing)
                                                                                 EIN _ _−_ _ _ _ _ _ _
                       First Name   Middle Name   Last Name

United States Bankruptcy Court       District of New Jersey

Case number:          14−22638−ABA

Order of Discharge                                                                                                              12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 1328(a) is granted to:

               Gary G. Morris                                             Kathy J. Morris


               9/11/19                                                     By the court: Andrew B. Altenburg Jr.
                                                                                         United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 13 Case

This order does not close or dismiss the case.                             Most debts are discharged
                                                                           Most debts are covered by the discharge, but
Creditors cannot collect discharged debts                                  not all. Generally, a discharge removes the
                                                                           debtors' personal liability for debts provided for
This order means that no one may make any                                  by the chapter 13 plan.
attempt to collect a discharged debt from the
debtors personally. For example, creditors cannot                          In a case involving community property: Special
sue, garnish wages, assert a deficiency, or                                rules protect certain community property owned
otherwise try to collect from the debtors personally                       by the debtor's spouse, even if that spouse did
on discharged debts. Creditors cannot contact the                          not file a bankruptcy case.
debtors by mail, phone, or otherwise in any
attempt to collect the debt personally. Creditors
who violate this order can be required to pay                              Some debts are not discharged
debtors damages and attorney's fees.                                       Examples of debts that are not discharged are:
However, a creditor with a lien may enforce a
claim against the debtors' property subject to that                             ♦ debts that are domestic support
lien unless the lien was avoided or eliminated. For                               obligations;
example, a creditor may have the right to foreclose
a home mortgage or repossess an automobile.
                                                                                ♦ debts for most student loans;
This order does not prevent debtors from paying
any debt voluntarily. 11 U.S.C. § 524(f).
                                                                                ♦ debts for certain types of taxes specified
                                                                                  in 11 U.S.C. §§ 507(a)(8)( C),
                                                                                  523(a)(1)(B), or 523(a)(1)(C) to the
                                                                                  extent not paid in full under the plan;




                                                                                       For more information, see page 2>


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    ♦ debts that the bankruptcy court has                    ♦ debts for restitution, or damages,
      decided or will decide are not discharged                awarded in a civil action against the
      in this bankruptcy case;                                 debtor as a result of malicious or willful
                                                               injury by the debtor that caused
                                                               personal injury to an individual or the
    ♦ debts for most fines, penalties, forfeitures,            death of an individual; and
      or criminal restitution obligations;

                                                             ♦ debts for death or personal injury
    ♦ some debts which the debtors did not                     caused by operating a vehicle while
      properly list;                                           intoxicated.

    ♦ debts provided for under 11 U.S.C. §              In addition, this discharge does not stop
      1322(b)(5) and on which the last payment          creditors from collecting from anyone else who
      or other transfer is due after the date on        is also liable on the debt, such as an insurance
      which the final payment under the plan            company or a person who cosigned or
      was due;                                          guaranteed a loan.

    ♦ debts for certain consumer purchases
      made after the bankruptcy case was filed if        This information is only a general
      obtaining the trustee's prior approval of          summary of a chapter 13 discharge; some
      incurring the debt was practicable but was         exceptions exist. Because the law is
      not obtained;                                      complicated, you should consult an
                                                         attorney to determine the exact effect of
                                                         the discharge in this case.




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                                       United States Bankruptcy Court
                                          District of New Jersey
In re:                                                                                  Case No. 14-22638-ABA
Gary G. Morris                                                                          Chapter 13
Kathy J. Morris
         Debtors
                                         CERTIFICATE OF NOTICE
District/off: 0312-1           User: admin                  Page 1 of 2                   Date Rcvd: Sep 11, 2019
                               Form ID: 3180W               Total Noticed: 34


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 13, 2019.
db/jdb         +Gary G. Morris,    Kathy J. Morris,   17 Clinton Street,     Westville, NJ 08093-2170
cr             +USAA Federal Savings Bank,    WEINSTEIN & RILEY, P.S.,    260 W. 36th Street, Suite 801,
                 New York, NY 10018-8992
514866433       Boscov’s,    PO Box 71106,   Charlotte, NC 28272-1106
514937450      +CERASTES, LLC,    C O WEINSTEIN, PINSON, AND RILEY, PS,    2001 WESTERN AVENUE, STE 400,
                 SEATTLE, WA 98121-3132
514994755      +Lakeview Loan Servicing, LLC,    M&T Bank,    Attn: Bev Inglalsbe,    1100 Wehrle Drive,
                 Williamsville, NY 14221-7748
514866443       Nissan Infiniti LT,    PO Box 660366,   Dallas, TX 75266-0366
515029183     ++STATE OF NEW JERSEY,    DIVISION OF TAXATION BANKRUPTCY UNIT,     PO BOX 245,
                 TRENTON NJ 08646-0245
               (address filed with court: State of New Jersey,      Division of Taxation,     Bankruptcy Section,
                 PO Box 245,    Trenton, NJ 08695-0245)
514866444       State of New Jersey,    Division of Taxation,    PO Box 445,    Trenton, NJ 08695-0445
515102818      +USAA FEDERAL SAVINGS BANK,    C O WEINSTEIN, PINSON, AND RILEY, PS,
                 2001 WESTERN AVENUE, STE 400,    SEATTLE, WA 98121-3132
514866448      +USAA Federal Savings Bank,    PO Box 205,   Waterloo, IA 50704-0205
514965541      +USAA Federal Savings Bank,    PO Box 9013,    Addison, Texas 75001-9013
514866447      +USAA Federal Savings Bank,    10750 McDermott Fwy,    San Antonio, TX 78230-1649

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: usanj.njbankr@usdoj.gov Sep 12 2019 00:08:24        U.S. Attorney,    970 Broad St.,
                 Room 502,   Rodino Federal Bldg.,    Newark, NJ 07102-2534
smg            +E-mail/Text: ustpregion03.ne.ecf@usdoj.gov Sep 12 2019 00:08:18         United States Trustee,
                 Office of the United States Trustee,     1085 Raymond Blvd.,    One Newark Center,    Suite 2100,
                 Newark, NJ 07102-5235
514866432      +E-mail/Text: mary.stewart@abcofcu.org Sep 12 2019 00:09:19        ABCO Federal Credit Union,
                 PO Box 247,   Rancocas, NJ 08073-0247
515097267      +EDI: CBSAAFES.COM Sep 12 2019 03:28:00       Army & Air Force Exchange Services,
                 Bass & Associates, P.C.,   3936 E. Ft. Lowell Road, Suite #200,      Tucson, AZ 85712-1083
514866442       EDI: CBSAAFES.COM Sep 12 2019 03:28:00       Military Star,    3911 S Walton Walker Blvd.,
                 Dallas, TX 75236
514866434      +EDI: CITICORP.COM Sep 12 2019 03:28:00       Citi Bank,    701 E. 60th Street N,
                 Sioux Falls, SD 57104-0493
514866435       EDI: CITICORP.COM Sep 12 2019 03:28:00       Citi Cards,    Processing Center,
                 Des Moines, IA 50363-0005
514866436      +EDI: WFNNB.COM Sep 12 2019 03:28:00       Comenity Bank/NWYRK & Co,     PO Box 182789,
                 Columbus, OH 43218-2789
514866437       EDI: RMSC.COM Sep 12 2019 03:28:00      GAP,    PO Box 530942,    Atlanta, GA 30353-0942
514866438       EDI: RMSC.COM Sep 12 2019 03:28:00      GECRB/Care Credit,     PO Box 965036,
                 Orlando, FL 32896-5036
514866439       EDI: IRS.COM Sep 12 2019 03:28:00      IRS,    PO Box 7346,    Philadelphia, PA 19101-7346
514866440       EDI: RMSC.COM Sep 12 2019 03:28:00      Lowes/GECRB,     PO Box 530914,    Atlanta, GA 30353-0914
514866441       E-mail/Text: camanagement@mtb.com Sep 12 2019 00:07:54        M&T Bank,    Consumer Credit Services,
                 PO Box 767,   Buffalo, NY 14240-0767
515073845       EDI: PRA.COM Sep 12 2019 03:28:00      Portfolio Recovery Associates, LLC,      c/o Gap,
                 POB 41067,   Norfolk VA 23541
515043804       EDI: PRA.COM Sep 12 2019 03:28:00      Portfolio Recovery Associates, LLC,      c/o Lowes,
                 POB 41067,   Norfolk VA 23541
515041925       EDI: PRA.COM Sep 12 2019 03:28:00      Portfolio Recovery Associates, LLC,
                 c/o Walmart Discover Card,    POB 41067,    Norfolk VA 23541
515119805       EDI: RMSC.COM Sep 12 2019 03:28:00      Synchrony Bank,     c/o Recovery Management Systems Corp,
                 25 SE 2nd Ave Suite 1120,   Miami FL 33131-1605
514866445       EDI: CITICORP.COM Sep 12 2019 03:28:00       The Home Depot,    PO Box 6497,
                 Sioux Falls, SD 57117-6497
514866446      +EDI: USAA.COM Sep 12 2019 03:28:00      USAA,    10750 McDermott Fwy,
                 San Antonio, TX 78288-1600
514866450       EDI: RMSC.COM Sep 12 2019 03:28:00      Walmart,    PO Box 960024,    Orlando, FL 32896-0024
516792409       EDI: ECAST.COM Sep 12 2019 03:28:00       eCAST Settlement Corporation,     PO Box 29262,
                 New York NY 10087-9262
515093938       EDI: ECAST.COM Sep 12 2019 03:28:00       eCAST Settlement Corporation, assignee,
                 of Citibank (South Dakota), N.A.,    POB 29262,    New York, NY 10087-9262
                                                                                                TOTAL: 22

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
514967141*       +USAA FEDERAL SAVINGS BANK,   PO BOX 9013,   ADDISON, TEXAS 75001-9013
514866449*       +USAA Federal Savings Bank,   PO Box 205,   Waterloo, IA 50704-0205
515093939*        eCAST Settlement Corporation, assignee,   of Citibank (South Dakota), N.A.,     POB 29262,
                   New York, NY 10087-9262
                                                                                                TOTALS: 0, * 3, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.
      Case 14-22638-ABA                Doc 59 Filed 09/13/19 Entered 09/14/19 00:31:31                               Desc Imaged
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District/off: 0312-1                  User: admin                        Page 2 of 2                          Date Rcvd: Sep 11, 2019
                                      Form ID: 3180W                     Total Noticed: 34


             ***** BYPASSED RECIPIENTS (continued) *****

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 13, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 11, 2019 at the address(es) listed below:
              Brian C. Nicholas    on behalf of Creditor   Lakeview Loan Servicing, LLC
               bnicholas@kmllawgroup.com, bkgroup@kmllawgroup.com
              Daniel Brett Sullivan    on behalf of Creditor    USAA Federal Savings Bank, N.A.
               BNCmail@w-legal.com
              Daniel Brett Sullivan    on behalf of Creditor    USAA Federal Savings Bank BNCmail@w-legal.com
              Denise E. Carlon    on behalf of Creditor   Lakeview Loan Servicing, LLC
               bankruptcynotice@zuckergoldberg.com, bkgroup@kmllawgroup.com
              Eric Clayman     on behalf of Debtor Gary G. Morris jenkins.clayman@verizon.net,
               connor@jenkinsclayman.com
              Eric Clayman     on behalf of Joint Debtor Kathy J. Morris jenkins.clayman@verizon.net,
               connor@jenkinsclayman.com
              Isabel C. Balboa    ecfmail@standingtrustee.com, summarymail@standingtrustee.com
              Isabel C. Balboa    on behalf of Trustee Isabel C. Balboa ecfmail@standingtrustee.com,
               summarymail@standingtrustee.com
              Jeffrey E. Jenkins    on behalf of Joint Debtor Kathy J. Morris jenkins.clayman@verizon.net,
               connor@jenkinsclayman.com
              Jeffrey E. Jenkins    on behalf of Debtor Gary G. Morris jenkins.clayman@verizon.net,
               connor@jenkinsclayman.com
              Joshua I. Goldman    on behalf of Creditor   Lakeview Loan Servicing, LLC jgoldman@kmllawgroup.com,
               bkgroup@kmllawgroup.com
              Melissa N. Licker    on behalf of Creditor   Lakeview Loan Servicing, LLC
               NJ_ECF_Notices@mccalla.com
              Rebecca Ann Solarz    on behalf of Creditor    Lakeview Loan Servicing, LLC rsolarz@kmllawgroup.com
                                                                                              TOTAL: 13
